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 8                               UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA

10
11    TWIN SISTERS GUN CLUB, an                     No. 2:17-cv-01526-MCE-GGH
      Unincorporated Association, and
12    THOMAS BOCK,
13                     Plaintiffs,                  MEMORANDUM AND ORDER
14           v.
15    WILLIAM F. EMLEN, MINH C. TRAN,
      COUNTY OF SOLANO, and DOES 1-
16    10,
17                     Defendant.
18
19           Plaintiffs Thomas Bock and Twin Sisters Gun Club brought this suit against

20    Solano County, William F. Emlen, Solano County’s Director of Resource Management,

21    and Minh C. Tran, County Counsel for Napa County (“Defendants” when referred to

22    collectively) alleging due process violations arising from Defendants’ denial of Plaintiffs’

23    application for a business license for the Twin Sisters Gun Club. Plaintiffs seek relief

24    under 42 U.S.C. § 1983, as well as peremptory writs of mandate under California Code

25    of Civil Procedure §§ 1085 and 1094.5. Plaintiffs’ writ claims ask this Court to set aside

26    adverse decisions regarding Plaintiffs’ business license application and to reconsider

27    their application in accordance with relevant sections of the Solano County Code.

28    ///
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 1            Defendants now move to dismiss the suit on three grounds pursuant to both
 2    Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6).1 First, they contend that this
 3    Court should decline to exercise supplemental jurisdiction over the state mandamus
 4    claims. Second, Defendants argue Plaintiffs have failed to state a claim under § 1983.
 5    Finally, they argue that Defendants Tran and Emlen are entitled to either quasi-judicial or
 6    qualified immunity.2
 7
 8                                                BACKGROUND
 9

10            The land at issue in this proceeding is a 160-acre parcel in a rural part of Solano
11    County (the “Property”). Plaintiff Thomas Bock owns an interest in the Property, which
12    has allegedly been used since at least 1951 for, among other things, target shooting. A
13    portion of the Property has historically been referred to as Twin Sisters Park and Twin
14    Sisters Gun Club, the latter of which is also a Plaintiff (the “Gun Club”). Although the
15    Property is rural, population growth in the county has resulted in an increase in the
16    number of individuals residing in relatively close proximity to the Property.
17            In or around 2011, Defendant Solano County (the “County”) allegedly received
18    noise complaints regarding the Property. After receiving additional noise-related
19    complaints in 2015, County allegedly began a formal investigation of allegations that the

20    Gun Club was operating without permits, and in October of 2015, concluded that the
21    Gun Club was a legal non-conforming use.3 It is unclear who allegedly made this
22    determination, but by noting that Defendant William Emlen, the County’s Director of
23    Resource Management, had power under Solano County Code § 28.118(a) to delegate
24            1
               All further references to “Rule’ or “Rules” are to the Federal Rules of Civil Procedure unless
      otherwise noted.
25
              2
                Because oral argument was not of material assistance, the Court ordered this matter submitted
26    on the briefs. E.D. Cal. Local Rule 230(g).
27            3
                A non-conforming use is the term used to describe a use of property that does not comply with
      existing zoning laws, but is nonetheless allowed to occur because it had been lawfully established on such
28    land property before the zoning law was enacted.
                                                           2
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 1    authority to make non-conforming use decisions and that Emlen delegated such
 2    authority to Planning Manager Michael Yankovich. Plaintiffs appear to suggest that if the
 3    determination was not in fact made by Emlen, it was made by Yankovich with Emlen’s
 4    knowledge and approval. Pls.’ Comp. at ¶¶ 18–19.
 5           After this alleged initial non-conforming use determination, someone from the
 6    County Sheriff’s Office allegedly instructed Plaintiff Bock to obtain a business license for
 7    the Gun Club, and in January 2016, Plaintiff Bock submitted an application. The basis
 8    for the application, according to Plaintiffs, was the alleged determination made by
 9    Defendant County in October of 2015 that the Gun Club was a legal non-conforming

10    use.
11           On June 21, 2016, Plaintiff Bock received a letter from the County stating that he
12    could not get a business license unless he provided evidence showing that the shooting
13    range had been continuously operated since the non-conformity began. The letter also
14    stated that a future determination of whether a non-conforming use existed would
15    depend on whether the shooting range’s scope of operations was currently the same as
16    when it began. According to Plaintiffs, the Property first began operating as a shooting
17    range in 1951 and the date the non-conformity began (i.e., the date a permit became
18    required to operate the shooting range) was December 30, 1958.
19           Plaintiffs claim they disputed the County’s position that the outcome of a non-

20    conforming use determination turned on the scope of operations, but nonetheless stated
21    they were open to working with the County to come to an agreement as to what the
22    scope of operations should be going forward. Pls.’ Comp. at ¶¶ 32–33. According to
23    Plaintiffs, however, the Department of Resource Management chose not to work with
24    Plaintiffs on determining what an appropriate scope for the operation would be and
25    instead simply denied their business license application on August 26, 2016. Id. at 33.
26    Defendant Emlen signed the denial. According to Plaintiffs, the reason the County gave
27    for its denial was that Plaintiff Bock had failed to meet his evidentiary burden of proving
28    the prior existence of a non-conforming use and that such use was still within the same
                                                   3
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 1    scope as it had been when the non-conforming use began. The County then demanded
 2    that the Gun Club cease its operations. The Gun Club complied and has remained
 3    effectively closed ever since.
 4           Although Solano County Code § 28.114(g) requires that a zoning clearance take
 5    place prior to issuance of a business license, Plaintiffs allege, and Defendants do not
 6    appear to dispute, that Defendant County never completed that clearance. Pls.’ Comp.
 7    at ¶ 25; Defs.’ Mem. Supp. Mot. to Dism, ECF No. 9-1, 3:5–7.
 8           Plaintiff Bock timely appealed the denial on September 12, 2016. Defendant
 9    Minh C. Tran, County Counsel of Napa, acted as a hearing officer and conducted the

10    appeal hearing (“Hearing”). At the Hearing, Defendant County was represented by
11    Deputy County Counsel Davina Smith. In her brief to Defendant Tran, Smith claimed
12    that the Gun Club’s non-conforming use status had been abandoned. During the
13    Hearing, she also claimed that the earlier non-conforming use determination relied on by
14    Plaintiffs was invalid because it had not been made by Defendant Emlen. Although it is
15    not entirely clear from the record, Plaintiffs appear to suggest that to support her
16    contention Smith introduced a declaration from Yankovich. Pls.’ Comp. at ¶¶ 49–50.
17    Plaintiffs note, however, that Yankovich was not available for examination at the
18    Hearing. They also allege that his declaration does not address one way or the other
19    whether Defendant Emlen was involved in the initial alleged non-conforming use

20    determination, and Plaintiffs contend that Emlen was in fact involved. Smith also
21    disputed whether a prior non-conforming use determination had been made at all.
22    Ultimately, Defendant Tran issued a written order on April 24, 2017, upholding the denial
23    of the business license applications. The order, according to Plaintiffs, did not address
24    the evidence Plaintiffs had submitted concerning the alleged earlier non-conforming use
25    determination made by Defendants in October 2015.
26           Plaintiffs subsequently filed their instant complaint on July 21, 2017, asserting
27    three causes of action: (1) civil rights violations under 42 U.S.C. § 1983; (2) violations of
28    California Code of Civil Procedure § 1094.5; and (3) violations of California Code of Civil
                                                    4
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 1    Procedure § 1085. The first two causes of action named the County, Emlen, and Tran
 2    as defendants. Plaintiffs’ last claim, however, was asserted only against the County and
 3    Emlen. Plaintiffs contend this Court has federal question jurisdiction over the § 1983
 4    claim and supplemental jurisdiction over the state law claims. Defendants disagree,
 5    arguing that this Court does not have supplemental jurisdiction over the state law claims
 6    on grounds that federal courts either cannot assert jurisdiction over state law mandamus
 7    claims, or, at the very least, should, in their discretion, decline to assert jurisdiction over
 8    such claims. Accordingly, Defendants move to dismiss the state law claims for lack of
 9    jurisdiction pursuant to Rule 12(b)(1). In addition, Defendants argue that Plaintiffs have

10    failed to adequately plead a § 1983 claim as to all three defendants under Rule 12(b)(6).
11    Finally, as to both Emlen and Tran, Defendants contend they are entitled to quasi-
12    judicial immunity, or, alternatively, qualified immunity. For the following reasons,
13    Defendants’ Motion to Dismiss is GRANTED as to Defendant Tran and DENIED as to
14    Defendants County of Solano and Emlen.
15
16                                             STANDARD
17
18           A.     Motion To Dismiss Under Rule 12(b)(1)
19           Federal courts are courts of limited jurisdiction, and are presumptively without

20    jurisdiction over civil actions. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375,
21    377 (1994). The burden of establishing the contrary rests upon the party asserting
22    jurisdiction. Id. Because subject matter jurisdiction involves a court’s power to hear a
23    case, it can never be forfeited or waived. United States v. Cotton, 535 U.S. 625, 630
24    (2002). Accordingly, lack of subject matter jurisdiction may be raised by either party at
25    any point during the litigation, through a motion to dismiss pursuant to Federal Rule of
26    Civil Procedure 12(b)(1). Arbaugh v. Y&H Corp., 546 U.S. 500, 506 (2006); see also Int’l
27    Union of Operating Eng’rs v. Cnty. of Plumas, 559 F.3d 1041, 1043-44 (9th Cir. 2009).
28    Lack of subject matter jurisdiction may also be raised by the district court sua sponte.
                                                     5
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 1    Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574, 583 (1999). Indeed, “courts have an
 2    independent obligation to determine whether subject matter jurisdiction exists, even in
 3    the absence of a challenge from any party.” Id.; see Fed. R. Civ. P. 12(h)(3) (requiring
 4    the court to dismiss the action if subject matter jurisdiction is lacking).
 5           There are two types of motions to dismiss for lack of subject matter jurisdiction: a
 6    facial attack, and a factual attack. Thornhill Publ’g Co. v. Gen. Tel. & Elec. Corp.,
 7    594 F.2d 730, 733 (9th Cir. 1979). Thus, a party may either make an attack on the
 8    allegations of jurisdiction contained in the nonmoving party’s complaint, or may
 9    challenge the existence of subject matter jurisdiction in fact, despite the formal

10    sufficiency of the pleadings. Id.
11           When a party makes a facial attack on a complaint, the attack is unaccompanied
12    by supporting evidence, and it challenges jurisdiction based solely on the pleadings.
13    Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). If the motion to
14    dismiss constitutes a facial attack, the Court must consider the factual allegations of the
15    complaint to be true, and determine whether they establish subject matter jurisdiction.
16    Savage v. Glendale High Union Sch. Dist. No. 205, 343 F.3d 1036, 1039 n.1 (9th Cir.
17    2003). In the case of a facial attack, the motion to dismiss is granted only if the
18    nonmoving party fails to allege an element necessary for subject matter jurisdiction. Id.
19    However, in the case of a factual attack, district courts “may review evidence beyond the

20    complaint without converting the motion to dismiss into a motion for summary judgment.”
21    Safe Air for Everyone, 373 F.3d at 1039.
22           In the case of a factual attack, “no presumptive truthfulness attaches to plaintiff’s
23    allegations.” Thornill, 594 F.2d at 733 (internal citation omitted). The party opposing the
24    motion has the burden of proving that subject matter jurisdiction does exist, and must
25    present any necessary evidence to satisfy this burden. St. Clair v. City of Chico,
26    880 F.2d 199, 201 (9th Cir. 1989). If the plaintiff’s allegations of jurisdictional facts are
27    challenged by the adversary in the appropriate manner, the plaintiff cannot rest on the
28    mere assertion that factual issues may exist. Trentacosta v. Frontier Pac. Aircraft Ind.,
                                                     6
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 1    Inc., 813 F.2d 1553, 1558 (9th Cir. 1987) (quoting Exch. Nat’l Bank of Chi. v. Touche
 2    Ross & Co., 544 F.2d 1126, 1131 (2d Cir. 1976)). Furthermore, the district court may
 3    review any evidence necessary, including affidavits and testimony, in order to determine
 4    whether subject matter jurisdiction exists. McCarthy v. United States, 850 F.2d 558, 560
 5    (9th Cir. 1988); Thornhill, 594 F.2d at 733. If the nonmoving party fails to meet its
 6    burden and the court determines that it lacks subject matter jurisdiction, the court must
 7    dismiss the action. Fed. R. Civ. P. 12(h)(3).
 8           B.     Motion To Dismiss Under Rule 12(b)(6)
 9           On a motion to dismiss for failure to state a claim under Federal Rule of Civil

10    Procedure 12(b)(6), all allegations of material fact must be accepted as true and
11    construed in the light most favorable to the nonmoving party. Cahill v. Liberty Mut. Ins.
12    Co., 80 F.3d 336, 337-38 (9th Cir. 1996). Rule 8(a)(2) requires only “a short and plain
13    statement of the claim showing that the pleader is entitled to relief” in order to “give the
14    defendant fair notice of what the . . . claim is and the grounds upon which it rests.” Bell
15    Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41,
16    47 (1957)). A complaint attacked by a Rule 12(b)(6) motion to dismiss does not require
17    detailed factual allegations. However, “a plaintiff’s obligation to provide the grounds of
18    his entitlement to relief requires more than labels and conclusions, and a formulaic
19    recitation of the elements of a cause of action will not do.” Id. (internal citations and

20    quotations omitted). A court is not required to accept as true a “legal conclusion
21    couched as a factual allegation.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1950 (2009)
22    (quoting Twombly, 550 U.S. at 555). “Factual allegations must be enough to raise a
23    right to relief above the speculative level.” Twombly, 550 U.S. at 555 (citing 5 Charles
24    Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1216 (3d ed. 2004)
25    (stating
26    that the pleading must contain something more than “a statement of facts that merely
27    creates a suspicion [of] a legally cognizable right of action.”)).
28           Furthermore, “Rule 8(a)(2) . . . requires a showing, rather than a blanket
                                                     7
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 1    assertion, of entitlement to relief.” Twombly, 550 U.S. at 556 n.3 (internal citations and
 2    quotations omitted). Thus, “[w]ithout some factual allegation in the complaint, it is hard
 3    to see how a claimant could satisfy the requirements of providing not only ‘fair notice’ of
 4    the nature of the claim, but also ‘grounds’ on which the claim rests.” Id. (citing 5 Charles
 5    Alan Wright & Arthur R. Miller, supra, at § 1202). A pleading must contain “only enough
 6    facts to state a claim to relief that is plausible on its face.” Id. at 570. If the “plaintiffs . . .
 7    have not nudged their claims across the line from conceivable to plausible, their
 8    complaint must be dismissed.” Id. However, “[a] well-pleaded complaint may proceed
 9    even if it strikes a savvy judge that actual proof of those facts is improbable, and ‘that a

10    recovery is very remote and unlikely.’” Id. at 556 (quoting Scheuer v. Rhodes, 416 U.S.
11    232, 236 (1974)).
12            C.      Leave To Amend
13            A court granting a motion to dismiss a complaint must then decide whether to
14    grant leave to amend. Leave to amend should be “freely given” where there is no
15    “undue delay, bad faith or dilatory motive on the part of the movant, . . . undue prejudice
16    to the opposing party by virtue of allowance of the amendment, [or] futility of the
17    amendment . . . .” Foman v. Davis, 371 U.S. 178, 182 (1962); Eminence Capital, LLC v.
18    Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003) (listing the Foman factors as those to
19    be considered when deciding whether to grant leave to amend). Not all of these factors

20    merit equal weight. Rather, “the consideration of prejudice to the opposing party . . .
21    carries the greatest weight.” Id. (citing DCD Programs, Ltd. v. Leighton, 833 F.2d 183,
22    185 (9th Cir. 1987)). Dismissal without leave to amend is proper only if it is clear that
23    “the complaint could not be saved by any amendment.” Intri-Plex Techs. v. Crest Group,
24    Inc., 499 F.3d 1048, 1056 (9th Cir. 2007) (citing In re Daou Sys., Inc., 411 F.3d 1006,
25    1013 (9th Cir. 2005); Ascon Props., Inc. v. Mobil Oil Co., 866 F.2d 1149, 1160 (9th Cir.
26    1989) (“Leave need not be granted where the amendment of the complaint . . .
27    constitutes an exercise in futility . . . .”)).
28    ///
                                                        8
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 1    ///
 2                                                 ANALYSIS
 3
 4           Because this is a court of limited jurisdiction, the Court will first address whether
 5    or not supplemental jurisdiction is proper. The Court will then consider whether Plaintiffs
 6    have alleged facts sufficient to state a claim under § 1983. Finally, the Court will assess
 7    whether Tran and Emlen are entitled to immunity.
 8           A.     Supplemental Jurisdiction
 9           Federal district courts have original jurisdiction over “all civil actions arising under

10    the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. In addition,
11    under 28 U.S.C. § 1367(a), courts shall have supplemental jurisdiction over state law
12    claims if they are a part of the “same case or controversy” as the claims over which the
13    court has original jurisdiction. One claim is a part of the “same case or controversy” as
14    another claim when they both share a “common nucleus of operative fact.” Mendoza v.
15    Zirkle Fruit Co., 301 F.3d 1163, 1174 (9th Cir. 2002) (citing United Mine Workers of
16    America v. Gibbs, 383 U.S. 715, 725 (1966)).
17           It is true that “pendent [or supplemental] jurisdiction is a doctrine of discretion.”
18    United Mine Workers of America v. Gibbs, 383 U.S. 715, 726 (1966). But after Gibbs,
19    Congress codified that discretion in § 1367(c). Exec. Software N. Am., Inc. v. U.S. Dist.

20    Court for Cent. Dist. Of Cal., 24 F.3d 1545, 1555–56 (9th Cir. 1994) (overruled on other
21    grounds by Cal. Dep’t of Water Res. v. Powerex Corp., 533 F.3d 1087 (9th Cir. 2008) (“it
22    is clear that Congress intended section 1367(c) to provide the exclusive means by which
23    supplemental jurisdiction can be declined by a court.”). Pursuant to § 1367(c), this Court
24    may decline to exercise supplemental jurisdiction over state claims when:
25                   (1) the claim raises a novel or complex issue of State law[;]
26                  (2) the claim substantially predominates over the claim or
                    claims over which the district court has original jurisdiction[;]
27
                    (3) the district court has dismissed all claims over which it has
28                  original jurisdiction[;] or
                                                    9
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 1                  (4) in exceptional circumstances, there are other compelling
                    reasons for declining jurisdiction.
 2
      28 U.S.C. § 1367(c). In deciding whether to exercise such discretion, courts “should
 3
      consider and weigh in each case, and at every stage of the litigation, the values of
 4
      judicial economy, convenience, fairness, and comity.” Carnegie-Mellon University v.
 5
      Cohill, 484 U.S. 343, 350 (1988). Ultimately, the doctrine is a flexible one, “designed to
 6
      allow courts to deal with cases involving pendent claims in the manner that most
 7
      sensibly accommodates a range of concerns and values.” Id.
 8
             With this framework in mind, we turn to the instant case. Plaintiffs argue that the
 9
      “same case or controversy” element is satisfied because all of their claims stem from the
10
      “County’s land use decision making vis-à-vis Plaintiffs’ shooting range,” and that those
11
      facts therefore constitute a “common nucleus of operative facts.” Pls.’ Opp. to Defs.’
12
      Mot. to Dism. 8:12–16 (ECF No. 12). Although it is not entirely clear from Defendants’
13
      papers, Defendants do not appear to contest that the “same case or controversy”
14
      element is met. Instead, they focus on whether the Court should decline to exercise
15
      supplemental jurisdiction, Defs.’ Mot. to Dism. 6:3–5 (ECF No. 9-1), a position that
16
      implicitly assumes the grounds for supplemental jurisdiction exist. In any case, because
17
      all of Plaintiffs’ claims arise from the same set of facts, and in light of Defendants’
18
      apparent concession on that point, the Court finds that the “same case or controversy”
19
      element, and, therefore, § 1367(a), is satisfied.
20
             The question, then, is whether one of the exceptions under § 1367(c) justifies
21
      dismissing Plaintiffs’ state law claims. Since the Court does not dismiss all the claims
22
      over which it has original jurisdiction below, section 1367(c)(3), is inapplicable. The
23
      remaining sections, §§ 1367(c)(1), (2), and (4), are discussed in turn below.
24
                    1.     Section 1367(c)(1): Are the State Law Claims Novel or
25                         Complex?
26
             Plaintiffs contend their claims are neither novel nor complex. The statutes
27
      Plaintiffs rely on, California Code of Civil Procedure §§ 1085 and 1094.5, are, according
28
                                                    10
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 1    to Plaintiffs, “commonly relied upon and litigated.” Pls.’ Opp. to Defs.’ Mot. to Dism.,
 2    ECF No. 12, 9:17–19. Although Plaintiffs cite no authority for this proposition,
 3    Defendants do not argue it is incorrect. Moreover, with respect to § 1094.5, the Northern
 4    District, in Wesner v. Cty of Napa, 2009 WL 650274 (N.D. Cal. Mar. 11, 2009),
 5    specifically found that claims under that statute do not raise novel or complex issues of
 6    state law. Id. at *3. Because both §§ 1085 and 1094.5 have been the subject of
 7    extensive litigation and are cited frequently, the Court does not believe they present
 8    novel or complex issues of state law.
 9                  2.      Section 1367(c)(2): Do the State Law Claims Predominate over
                            the 1983 Claims?
10
11           When “state issues substantially predominate, whether in terms of proof, of the
12    scope of the issues raised, or of the comprehensiveness of the remedy sought, the state
13    claims may be . . . left for resolution to state tribunals.” Gibbs, 383 U.S. at 726–27.
14    “Once it appears that a state claim constitutes the real body of a case, to which the
15    federal claim is only an appendage, the state claim may fairly be dismissed.” Id. at 727.
16           In terms of proof, Plaintiffs’ claims are nearly identical. Proving Plaintiffs’ § 1983
17    claim will almost certainly prove the allegations necessary to support Plaintiff’s state-law
18    claims. This overlap indicates that the federal claim is not merely an appendage to the
19    state claims. On the contrary, the claims are so interwoven that it cannot be said that

20    the state law claims here substantially predominate over the federal claims.
21                  3.      Section 1367(c)(4): Is this an Exceptional Case in Which There
                            Are Compelling Reasons To Decline Jurisdiction?
22
23           According to the Supreme Court, the exceptional circumstances referred to in
24    § 1367(c)(4) “include considerations of proper constitutional adjudication, regard for
25    federal-state relations, or wise judicial administration.” City of Chicago v. Int’l Coll. of
26    Surgeons, 522 U.S. 156, 174 (1997) (quoting Quackenbush v. Allstate Ins. Co., 517 U.S.
27    706, 716 (1996). Of these, only one is even arguable here: federal-state relations.
28           Defendants’ argument against exercising supplemental jurisdiction is that bringing
                                                    11
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 1    mandamus claims rooted in state law alongside a federal claim constitutes an
 2    exceptional case in which there are compelling reasons to decline jurisdiction. To that
 3    end, Defendants rely on Clemes v. Del Norte Cty. Unified Sch. Distr., 843 F. Supp. 583
 4    (N.D. Cal. 1994). In Clemes, the court declined to exercise jurisdiction over the plaintiff’s
 5    request for a writ of mandamus to review a state administrative agency’s decision. Id. at
 6    598. The court reasoned the writ of mandamus sought was “a state remedy, not a
 7    federal remedy,” and that it was “uniquely in the interest and domain of state courts.” Id.
 8    According to Defendants, this holding controls the outcome here. The Court disagrees.
 9           The Court acknowledges that principles of comity have lead some courts to deny

10    altogether the federal district courts’ ability to exercise supplemental jurisdiction over
11    California law-based mandamus claims. See Hill v. Cty. of Sacramento, 466 Fed. Appx.
12    577, 579 (9th Cir. 2012) (holding that section 1085 of the California Code of Civil
13    Procedure “authorizes only state courts to issue writs of mandate.”); Layton v. Knipp,
14    2013 WL 5348153 (E.D. Cal. Sep. 23, 2013) (“Federal district courts are without power
15    to issue mandamus to direct state courts, state judicial officers, or other state officials in
16    the performance of their duties.). Nonetheless, the parties agree that “[a] grant of
17    supplemental jurisdiction of a California mandamus action is not prohibited.” Fresno
18    Unified Sch. Dist. v. K.U. ex rel. A.D. U., 980 F. Supp. 2d 1160, 1184 (E.D. Cal. 2013).
19           In addition, other case law directs this Court to an outcome different than that

20    found in Clemes. In Wesner, 2009 WL 650274 at *1, plaintiffs and defendant county had
21    entered into a stipulated judgment in a state court proceeding regarding a nuisance
22    issue that plaintiffs claimed resulted in a vested right on their part to use their property.
23    The defendant subsequently posted a new notice of nuisance for the same violations
24    that were at issue in the earlier proceeding, and although the defendant held a hearing
25    on the new notice, the plaintiffs claimed they did not have a meaningful opportunity to
26    present their case. Id. After concluding that the plaintiff’s federal-state claims arose out
27    of the same case or controversy the court addressed § 1367(c). As to the defendant
28    county’s argument, based on Clemes, that state mandamus claims are exceptional
                                                    12
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 1    circumstances under § 1367(c)(4), the Northern District noted:
 2                    However, three years later, in Chicago, the United States
                      Supreme Court noted that “there is nothing in the text of
 3                    § 1367(a) that indicates an exception to supplemental
                      jurisdiction for claims that require on-the-record review of a
 4                    state or local administrative determination.” Further, “the
                      statute confers supplemental jurisdiction over ‘all other
 5                    claims’ in the same case or controversy as a federal
                      question, without reference to the nature of the review.”
 6                    Thus, federal jurisdiction may encompass review of state and
                      local administrative decisions.
 7
 8    Wesner, 2009 WL 650274 at *3 (internal citation omitted) (emphasis in the original).
 9            Here, Defendants’ argument is virtually identical to that posited by the defendants

10    in Wesner. This Court agrees with the Northern District’s analysis on the matter and
11    therefore will therefore invoke supplemental jurisdiction.4
12            B.      Sufficiency of the Pleadings
13            To state a claim under § 1983 against a municipal entity, a plaintiff must allege
14    (1) a policy or custom that when executed (2) inflicts the (3) injury the government is
15    responsible for. Monell v. Dep’t of Soc. Serv. of City of New York, 436 U.S. 658, 694
16    (1978). Such policy or custom may be made by lawmakers or by those whose edicts or
17    acts may fairly be said to represent official policy. Id. Alternatively, a cognizable claim
18    may also lie where “the injury was caused or ratified by an individual with ‘final policy-
19    making authority.’” Chudacoff v. Univ. Med. Ctr. S. Nev., 649 F.3d 1143, 1151 (9th Cir.

20    2011) (quoting Villegas v. Gilroy Garlic Festival Ass’n, 541 F.3d 950, 964 (9th Cir.
21    2008)). In either instance, a municipality cannot be held liable solely because it employs
22    a tortfeasor; simple respondeat superior alone will not suffice. Monell, 436 U.S at 691.
23    Instead, municipalities can only be held liable when “action pursuant to official municipal
24    policy . . . caused a constitutional tort.” Id.
25            4
                 The Ninth Circuit’s decision in Jensen v. Cty. of Sonoma, 2010 WL 2330284 (N.D. Cal. Jun. 4,
      2010) is also instructive. In that case, the district court had specifically relied on Wesner in deciding to
26    exercise supplemental jurisdiction over a California Code of Civil Procedure § 1094.5 claim where it had
      original jurisdiction over the plaintiff’s 1983 claims. See Jensen v. Cty. of Sonoma, 2010 WL 2330284
27    (N.D. Cal. Jun. 4, 2010). Although the Ninth Circuit addressed other issues on appeal, in affirming the
      district court’s decision, the Ninth Circuit implicitly approved of its reasoning on the supplemental
28    jurisdiction issue.
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 1           Merely alleging a random act or isolated instance of misconduct is not enough to
 2    establish custom. Navarro v. Block, 72 F.3d 712 (9th Cir. 1995). As to pleading policy,
 3    however, “no one has ever doubted . . . that a municipality may be liable under § 1983
 4    for a single decision by its properly constituted legislative body—whether or not that
 5    body had taken similar action in the past or intended to do so in the future—because
 6    even a single decision by such a body unquestionably constitutes an act of official
 7    government policy.” Pembaur v. City of Cincinnati, 475 U.S. 469, 480 (1986).
 8    Nonetheless, in the event a plaintiff pleads only a single instance of misconduct, liability
 9    inures only where the decision-maker possesses final authority to establish the alleged

10    policy. Id. at 481.
11           Defendants argue that Plaintiffs have failed to state facts sufficient to constitute
12    viable § 1983 claims against any of the parties they have named as defendants in this
13    lawsuit. As to the County and Emlen, Plaintiffs argue that they had “a policy by which it
14    allows its department heads to both delegate decision-making authority as to the
15    existence of a nonconforming use while nonetheless allowing the department heads to
16    have unfettered discretion to retroactively invalidate decisions made via the delegation of
17    authority.” Pls.’ Comp. ¶ 53. Defendants contend Plaintiffs fail to allege specific facts
18    sufficient to support the allegation. Defs.’ Mem. Supp. Mot. to Dism., ECF No. 9-1, 9:22–
19    23.

20           It is true that alleging legal conclusions or couching legal conclusions as factual
21    allegations is insufficient to survive a motion to dismiss. Iqbal, 129 S. Ct. at 1950.
22    Nonetheless, Plaintiffs need not allege detailed facts. Here, as evidence of this alleged
23    policy, Plaintiffs have alleged that Emlen, as the County’s official responsible for non-
24    conforming use determinations, participated in or knew or reasonably should have
25    known that the earlier alleged non-conforming use determination occurred, and that he
26    subsequently disregarded it. Pls.’ Comp. at ¶¶ 35, 48, 51. This is enough to state a
27    cognizable claim against both Emlen and the County.5
28           5
                 The Court finds below that Defendant Tran is entitled to quasi-judicial immunity. Therefore, it is
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 1            Defendants also attack Plaintiffs’ “policy” allegations by claiming Plaintiffs failed to
 2    plead a qualifying “custom.” These two concepts, however, cannot be conflated. As
 3    stated above, pleading custom requires more than alleging a single random act, but
 4    pleading policy does not as long as the alleged decision-maker possesses final authority
 5    to make the alleged policy. As indicated above, Defendant Emlen, as the Director of the
 6    County’s Department of Resource Management, has the authority to make
 7    nonconforming use determinations under Solano County Code 28.118(a). Pls.’ Opp. to
 8    Mot. to Dism., ECF No. 12, 18:6–11. Accordingly, Defendant Emlen is a decision-maker
 9    for the purposes of Monell. The remaining question is whether Plaintiffs have

10    satisfactorily pled facts sufficient to establish the policy, and as stated above, the Court
11    finds that they have.
12            Defendants also argue that Plaintiffs, by acknowledging they received a hearing,
13    contradict their claim that their due process rights were violated. This argument is easily
14    disposed of because Plaintiffs do not base their due process claim on the lack of a
15    hearing. Rather, Plaintiffs claim the hearing they received was legally meaningless.
16    Those allegations are sufficient to withstand the current motion under Ass’n for
17    Los Angeles Deputy Sherrifs, 648 F.3d at 995 (“A meaningless hearing is no hearing at
18    all, and does not satisfy the requirements of procedural due process.”).
19            Defendants next contend that Plaintiffs have failed to plead facts sufficient to

20    establish a causal connection between the alleged policy and the constitutional injury.
21    But the crux of Defendants’ argument on this point is, again, that Plaintiffs did receive a
22    hearing at which they were allowed to submit evidence concerning the original
23    nonconforming use determination. Moreover, Plaintiffs’ complaint does plead facts
24    sufficient to establish a causal connection. Plaintiffs allege that “Defendants adopted a
25    policy that nonconforming use determinations made via an express or implied delegation
26    of authority can be repudiated by the Director of Resource Management without prior
27    notice, hearing, or explanation,” and that such policy, regardless of the hearing that was
28    not necessary to discuss whether Plaintiffs otherwise could have stated a § 1983 claim against Tran.
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 1    held, resulted in the loss of a valuable property right in the nonconforming use allegedly
 2    already granted. Pls.’ Comp. ¶¶ 58–60. If the Court accepts the Complaint’s allegations
 3    as true, as it must, and construes them in the light most favorable to Plaintiffs, it cannot
 4    conclude they are lacking. Plaintiffs have alleged facts sufficient to state a non-
 5    speculative, plausible right to relief under § 1983 and Monell.6
 6            C.      Immunity
 7                    1.       Quasi-judicial Immunity
 8            “The Supreme Court has long recognized ‘the need for absolute immunity to
 9    protect judges from lawsuits claiming that their decisions had been tainted by improper

10    motives.’” Buckles v. King Cty., 191 F.3d 1127, 1133 (9th Cir. 1999) (quoting Butz v.
11    Economou, 428 U.S. 478, 508 (1978)). Here, absolute immunity is not at issue because
12    this case does not involve allegations against an actual judge. Absolute immunity,
13    however, can be extended to other officials when they “perform functions analogous to
14    those performed by judges.” Id. This variant on absolute immunity is known as quasi-
15    judicial immunity. To determine whether an official’s function is sufficiently comparable
16    to that of a judge, courts are to consider the following: (1) whether there was an
17    adversarial proceeding; (2) whether there is a decision-maker insulated from political
18    influence; (3) whether the decisions made are based on evidence submitted by the
19    parties; and (4) whether there is a decision provided to the parties on all of the issues of

20    fact and law. Id. at 1134.
21            With respect to Defendant Tran, all four elements are present. Tran, acting as a
22    hearing officer, conducted a hearing on February 17, 2017. He was, presumably, a
23    decision-maker insulated from political influence, and both parties were allowed to
24    submit evidence. Finally, Tran issued written findings upholding the County’s denial of
25    Plaintiffs’ business license application. Accordingly, Tran is entitled to quasi-judicial
26    immunity.
27
              6
                Having concluded that Plaintiffs have sufficiently pled a policy that violates § 1983 under Monell,
28    the Court need not address Plaintiffs’ argument that they also sufficiently pled a custom.
                                                           16
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 1    ///
 2            Plaintiffs nonetheless take the position that Tran’s immunity extends only to relief
 3    that Plaintiffs are not seeking. That is, according to Plaintiffs, even if Tran is entitled to
 4    quasi-judicial immunity, that immunity does not bar injunctive or declaratory relief, which
 5    is the only relief Plaintiffs seek from him. Plaintiff cites to Mullis v. U.S. Bankr. Court for
 6    Dist. Of Nev., 828 F.2d 1385, 1391 (9th Cir. 1987) (citing Pulliam v. Allen, 466 U.S. 522
 7    (1984) for this proposition. The Court is not persuaded.
 8            Congress effectively overruled Pulliam, and, therefore, Mullis, on this point in
 9    1996 when it amended 42 U.S.C.A § 1988 to read: “in any action brought against

10    a judicial officer for an act or omission taken in such officer's judicial capacity, injunctive
11    relief shall not be granted unless a declaratory decree was violated or declaratory relief
12    was unavailable.” In light of the amended version of § 1988, it is clear that absolute
13    judicial immunity extends not only to claims for damages but to actions for equitable
14    relief as well. By its very nature, quasi-judicial immunity is an extension of absolute
15    judicial immunity where the function of a technically non-judicial government official is
16    sufficiently comparable to that of a judicial officer to warrant such extension.
17    Accordingly, quasi-judicial immunity also extends beyond monetary damages to claims
18    for equitable relief, and Tran is entitled to quasi-judicial immunity as to all claims.7
19            Defendants’ argument with respect to Emlen, however, is not well taken. The

20    entirety of their argument is that “[b]ecause defendant Emlen is also alleged to have
21    been involved in the decision-making process, he too is entitled to such immunity.”
22    Defs.’ Mem. Supp. Mot. to Dismiss (ECF No. 9-1) 15:5–6. It is not entirely clear whether
23    Defendants refer to Emlen’s role as a decision-maker with respect to the original non-
24    conforming use determination or the more recent business license denial. Defendants
25    nonetheless fail to address the Butz factors as they apply to Emlen. That alone is
26    enough to dispense with the unexplained argument and conclude that Emlen is not
27
              7
               That Defendant Tran is entitled to immunity and therefore dismissed from this case does affect or
28    change the Court’s ruling with respect to the applicability of 1367(c)(3)
                                                         17
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 1    entitled to quasi-judicial immunity.
 2            But even if that were not the case, the Butz factors point to a different result for
 3    Emlen than they did for Tran. Emlen’s role in making the non-conforming use
 4    determination and in the subsequent business license denial, to the extent he was
 5    involved in either, is distinguishable from functions typically performed by judges. There
 6    were no adversarial hearings and the parties did not submit evidence. It is also not clear
 7    that Emlen was insulated from political influence, and, while Emlen may have issued
 8    some sort of written decision, just how comparable that decision was to a judicial opinion
 9    remains unclear. The combined weight of the first three Butz factors, each of which

10    favors finding no quasi-judicial immunity, nonetheless outweighs the last factor to the
11    extent it might favor finding such immunity. And, as Plaintiffs point out, there is
12    precedent for denying county officials quasi-judicial immunity in relatively similar
13    circumstances. Mesquite Grove Chapel v. DeBonis, 633 F. Appx. 906 (9th Cir. 2015).
14    For all these reasons, Emlen is not entitled to quasi-judicial immunity.
15                    2.      Qualified Immunity
16            Defendants also claim that Defendant Emlen is entitled to qualified immunity.8
17    Qualified or “good faith” immunity shields government officials from suits for civil
18    damages liability unless the official violated a statutory or constitutional right that was
19    clearly established at the time of the challenged conduct. Reichle v. Howards, 566 U.S.

20    658, 654 (2012). In other words, the court must determine (1) whether the plaintiff has
21    sufficiently alleged that an official’s conduct violated a constitutional right; and
22    (2) whether that right was clearly established at the time of the alleged misconduct.
23    Pearson v. Callahan, 555 U.S. 223, 232 (2009). Only if both are answered in the
24    affirmative can the Court deny qualified immunity to an official, and it is in the Court’s
25    discretion to decide which issue to address first. Id. at 236.
26            Plaintiffs’ primary argument against qualified immunity for Defendant Emlen is that
27
              8
              Having concluded that Tran is entitled to quasi-judicial immunity, the Court need not address
28    Defendants’ argument that he was also entitled to qualified immunity.
                                                         18
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 1    qualified immunity only immunizes a government official from a suit for money damages.
 2    Because Plaintiffs are seeking declaratory and injunctive relief against Emlen, they
 3    correctly contend he is not entitled to qualified immunity. See Hydrick v. Hunter,
 4    669 F.3d 937, 939–940 (9th Cir. 2012) (“Qualified immunity is only immunity from a suit
 5    for money damages, and does not provide immunity from a suit seeking declaratory or
 6    injunctive relief.”). On this basis, the Court is satisfied that Emlen is therefore not entitled
 7    to qualified immunity. But, as discussed below, even if the Court were not satisfied on
 8    those grounds, Emlen would still not be entitled to qualified immunity under Reichle.
 9                         a.      Was the right alleged to be violated clearly established at
                                   the time of the alleged misconduct?
10
11           One of the two prongs Reichle directs courts to consider is whether the right that
12    was allegedly violated was clearly established such that a reasonable person in the
13    defendant’s shoes would know that he or she was violating the right. Reichle, 566 U.S.
14    at 654. It requires no citation to authority to know that the owner of a legal non-
15    conforming use has a valuable right. Indeed, once an action is prohibited in a certain
16    area, the right to continue such activity in contravention of the prohibition is more
17    valuable than the same freedom was before the prohibition began. Here, Plaintiffs
18    allege that Emlen disregarded Plaintiffs’ previously obtained non-conforming use
19    determination when it denied Plaintiffs’ business license application. Defendants contest

20    whether the previous non-conforming use determination was even made.
21           Assuming for Rule 12(b)(6) purposes that the previous non-conforming use
22    determination had been made, it is clear that Plaintiffs had some right in the continuance
23    of that legal non-conforming use. Indeed, Solano County Code § 28.114(F) only
24    provides for termination of a non-conforming use when the operation thereof ceases,
25    presumably at the owner’s choice, for a continuous six months. Moreover, California
26    courts have acknowledged the particular importance of “the strictest adherence to
27    principles of due process,” when “it is clear revocation of a use permit could have the
28    effect of putting the licensee completely out of business.” Consequently, “whenever
                                                    19
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 1    alternative remedies can achieve the same goal, . . . these avenues ought to be pursued
 2    if feasible.” Bauer v. City of San Diego, 75 Cal. App. 4th 1281, 1294–95 (1999). In light
 3    of the Solano County Code and Bauer, it is clear that Defendants’ power to reverse a
 4    non-conforming use determination, once such a determination is issued, becomes
 5    limited. This is a less than precise analysis, but in determining whether the alleged right
 6    is “clearly established” for qualified immunity purposes, the right need not have been
 7    previously decided in a case directly on point. Aschcroft v. al-Kidd, 563 U.S. 731, 740
 8    (2011). Ultimately, the Court need only be satisfied that the potential “contours of the
 9    right [to continue operating a legal non-conforming use without its illegal revocation] are

10    sufficiently clear that a reasonable official [in Defendants’ shoes] would have understood
11    that what he or she was doing violated that right.” Reichle, 566 U.S. at 665. The Court
12    believes that Plaintiffs’ arguments here fall within those parameters.
13           In addition, under Solano County Code § 28.114(g), a zoning clearance must be
14    issued by the Director of Resource Management prior to the issuance of a business
15    license. This statute offers an additional basis for finding that the “clearly established”
16    element is satisfied because Plaintiffs allege that Emlen failed to conduct a zoning
17    clearance before he denied Plaintiffs application for a business license. Under either
18    analysis, then, the rights Plaintiffs allege were violated were “clearly established.”
19                          b.     Have Plaintiffs sufficiently stated that a clearly
                                   established right has been violated?
20
21           The second factor Reichle directs courts to consider is whether the Plaintiffs have
22    sufficiently stated a violation of a constitutional right by a public official. Reichle,
23    566 U.S. at 654. Plaintiffs allege that Emlen participated in, or at the very least knew
24    about, the County’s alleged October 2015 finding that Plaintiffs’ Gun Club was a legal
25    non-conforming use, and that despite such participation or knowledge, the County and
26    Emlen denied Plaintiffs’ business license application without completing a zoning
27    clearance as required by Solano County Code § 28.114(g). Pls.’ Comp. at ¶¶ 35, 48.
28    Those contentions essentially boil down to two alleged violations: that Defendants
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 1    illegally reversed their prior non-conforming use determination; and that Defendants
 2    failed to comply with Solano County Code § 28.114(g).
 3           Defendants argue these allegations are insufficient to state a claim for the
 4    violation of Plaintiffs’ constitutional rights. In support of this contention, Defendants
 5    regurgitate many of the arguments they made earlier in their brief. First, they argue that
 6    the County had the right to determine land uses in its jurisdiction. Second, Defendants
 7    argue that there was due process because there was a process. The first contention is
 8    true but incomplete. Defendants are authorized to make land use decisions in their
 9    jurisdiction, but they are only authorized to do so subject to the laws governing land use

10    decisions in their jurisdiction. Here, Plaintiffs clearly allege that Defendants acted in
11    contravention of such authorization when they failed to conduct a zoning clearance
12    pursuant to Solano County Code § 28.114(g) before issuing the denial of Plaintiffs’
13    business license application. As for the second contention, as the Court stated above,
14    Plaintiffs are not arguing there was no process, but that the process followed was
15    deficient.
16           In light of the Court’s obligation at this stage of the litigation to accept as true and
17    construe in Plaintiffs’ favor all the material allegations of fact, the Court simply cannot
18    conclude that Plaintiffs have failed to sufficiently allege a violation of a constitutional
19    right. Indeed, the Court already decided above that Plaintiffs’ allegations, for the

20    purposes of determining whether Plaintiffs had stated a § 1983 claim under
21    Rule 12(b)(6), were sufficient. The same analysis applies for purposes of determining
22    whether Emlen is entitled to qualified immunity. Assuming Plaintiffs had obtained the
23    earlier non-conforming use status, Plaintiffs possessed a valuable right that could not be
24    withdrawn without due process, and they allege that Defendants violated that right when
25    they later refused to honor that decision. Additionally, under § 28.114(g) Emlen was
26    required to conduct a zoning clearance prior to making a non-conforming use
27    determination, and Plaintiffs allege Defendants did not. Plaintiffs have thus sufficiently
28    pled a violation of rights that were clearly established such that a reasonable
                                                    21
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 1    government official in Defendants’ shoes would have understood that his or her conduct
 2    violated the rights. Having answered both questions in the affirmative, the Court
 3    consequently holds that Emlen is not entitled to qualified immunity.
 4
 5                                         CONCLUSION
 6
 7          For the foregoing reasons, Defendants’ Motion to Dismiss (ECF No. 9) is
 8    GRANTED as to Defendant Tran and DENIED as to Defendants County of Solano and
 9    Emlen. No leave to amend will be permitted as to Plaintiffs’ claims against Defendant

10    Tran inasmuch as the Court does not believe the shortcomings of those claims can be
11    rectified through amendment.
12          IT IS SO ORDERED.
13    Dated: March 14, 2018
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